        Case 2:23-cr-00034-LMA-DPC Document 34 Filed 03/29/23 Page 1 of 2



 MINUTE ENTRY
 MARCH 2q.2023
 vA/v /,,yEER|ELD.               ll.T
                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF LOUISIANA


  UNITED STATES OF AMERICA                                                     CRIMINAL ACTION
  VERSUS                                                                       NO.23-34
  ALPHONSE BAZILE                                                              SECTION: I

                                                 T NTION HEARING

 PRESENT: X,DEFENDANT

    / DEFENDANT CONSENTED TO APPEAR BY VIDEO

 )UCOLTNSEL FOR THE DEFENDANT                                        Thowt tlarot,
                                                         Totn                              hlre

 xlASsr. u.s. ATToRNEy MTcHAEL E. TRUMMEL - *rah M,uktns hr
   /INTERPRETER
 (lnterprcter dcsignated by thc Court and swom. Time    M. to            M.)


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 ALPHONSE      B/ZILE                              23-341
 DEFENDANT                                         CASE NO.

THE COURT ORDERS AFTER HEARJNG TESTIMOT\TY PRESENTED IN THE
ABOVE CAPTIONED MATTER:

_/ DEFENDANT     IS ENTITLED TO RELEASE. BOND SET AT




SPECIAL CONDITIONS: (I) HE SHALL NOT COMMIT A FEDERAL, STATE OR LOCAL
CRIME DURING THE PERIOD OF RELEASE; (2) HE SHALL NOT INTERFERE WITH,
INTIMIDATE, THREATEN, HARM, OR INFLUENCE ANY JIIROR. GOVERNMENT
WITNESSES, VICTIMS OR FEDERAL AGENTS.


      COURT ACCEPTED DEFENDANTS VERBAL CONSENT IN LIEU OF
-/THE
SIGNATURE ON THE APPEARANCE BOND AND ORDER SETTING CONDITIONS OF
RELEASE.
    GOVERNMENT ADVISED OF ITS OBLIGATIONS TO PRODUCE AIL
EXCULPATORY EVIDENCE TO THE DEFENDANT PURSUANT TO BRADY Y,
-/
MARYLAND AND ITS PROGENY AND ORDERED TO DO SO TIMELY.

     / DEFENDANT EXECUTED THE BOND AND WAS RELEASED.

  / DEFENDANT REMANDED TO THE CUSTODY OF THE U.S. MARSHAL LTNTiL
BOND IS PERFECTED.

{ orrr*rorr rs Nor ENTTTLED ro RELEA'E.
A / DEFENDANT IS ORDERED DETAINED AND REMANDED TO THE CUSTODY OF
THE U.S. MARSHA],.

A / WRITTEN FINDINGS AND STATEMENT       OF REASONS ORDERING DETENTION
pILeo.

   / IT IS STIPULATED TFIAT IF THE AGENT WERE CALLED TO TESTIFY, SAID
TESTIMONY WOULD BE CONSISTENT WITH THAT CONTAINED IN THE
COMPLAINT/AFFIDAVIT.
   / IT IS STIPULATED THAT IF THE PRETRIAI SERVICES/PROBATION OFFICER
WERE CALLED TO TESTIFY, SAID TESTIMONY WOULD BE CONSISTENT WITI]
THAT CONTAINED IN HISAIER REPORT.
--]THE DEFENDANT WAIVED/STIPULATED TO DETENTION RESERVING HIS/I]ER
zuGHTTO REOPEN

     / OTHER
